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       Attorney for Defendant
 13    INFINITE PRODUCT COMPANY LLC,
       d/b/a Infinite CBD
 14
 15                        UNITED STATES DISTRICT COURT
 16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17    ADAM DASILVA, individually and on           Case No.: 2:19-cv-10148 DMG
       behalf of all others similarly situated,    Hon. Dolly M. Gee
 18
                                      Plaintiff,
                                                   INFINITE’S NOTICE OF MOTION
 19                                                TO DISMISS AND MOTION TO
 20    v.                                          STRIKE, OR IN THE
                                                   ALTERNATIVE TO STAY THE
 21                                                CASE PENDING GUIDANCE BY
       INFINITE PRODUCT COMPANY                    THE FDA
 22    LLC, d/b/a Infinite CBD, a Colorado
       limited liability company
 23                                            Date:     February 21, 2020
                                    Defendant. Time:     9:30 a.m.
 24                                            Location: Courtroom 8C, 8th Floor
                                               Judge:    Hon. Dolly M. Gee
 25
                                                   Complaint Filed: November 27, 2019
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       NOTICE OF MOTION TO DISMISS AND MOTION TO STRIKE, OR IN THE ALTERNATIVE TO STAY THE
                               CASE PENDING GUIDANCE BY THE FDA
       3567448v.1
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   1   TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:
   2           PLEASE TAKE NOTICE that on, February 21, 2020, at 9:30 a.m., or as
   3   soon thereafter as the matter may be heard before the Honorable Dolly M. Gee, in
   4   Courtroom 8C of the United States District Court, 350 West 1st Street, Los Angeles,
   5   California 90012, Defendant INFINITE PRODUCT COMPANY LLC, d/b/a
   6   Infinite CBD will and hereby does move the Court for the entry of an order
   7   dismissing Plaintiff’s Complaint, and/or striking portions of the Complaint’s,
   8   pursuant to Rules 12(b)(1) & (6) and Rule 12(f) of the Federal Rules of Civil
   9   Procedure, or alternatively to stay the case pending guidance by the FDA
 10            The Court should dismiss the Complaint for lack of Article III standing, based
 11    on preemption, for failure to state a claim and lack of subject matter jurisdiction.
 12    Furthermore, Plaintiff’s claims based on out-of-state statutes should be dismissed or
 13    stricken, and his multistate class allegations should be dismissed or stricken.
 14    Alternatively, this Court should stay this case pending the FDA’s guidance on CBD
 15    products. A stay will also promote uniformity and consistency in the application of
 16    FDA standards.
 17            The Motion is based on this Notice of Motion and Motion to Dismiss and
 18    Strike Plaintiff’s Complaint, or in the Alternative to Stay The Case Pending
 19    Guidance By The FDA, the accompanying Memorandum of Points and Authorities,
 20    the accompanying Request for Judicial Notice and supporting Exhibits, the Proposed
 21    Order, the Complaint, all other pleadings and papers on file in this action, and all
 22    further evidence and argument that may be adduced in connection herewith.
 23    ///
 24    ///
 25    ///
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       NOTICE OF MOTION TO DISMISS AND MOTION TO STRIKE, OR IN THE ALTERNATIVE TO STAY THE
                               CASE PENDING GUIDANCE BY THE FDA
       3567448v.1
Case 2:19-cv-10148-DMG-E Document 37 Filed 01/17/20 Page 3 of 3 Page ID #:152



   1           This motion follows the conference of counsel pursuant to Local Rule 7-3
   2   which took place starting on January 9, 2020 and continued through January 16,
   3   2020.
   4
                                             Respectfully submitted,
   5
       Dated: January 17, 2020               WILSON, ELSER, MOSKOWITZ,
   6
                                                EDELMAN & DICKER LLP
   7
   8
                                            By: /s/Ian A. Stewart
   9                                           Ian A. Stewart
                                               Daniel H. Lee
 10
                                               Attorneys for Defendant INFINITE
 11                                            PRODUCT COMPANY LLC, d/b/a
                                               Infinite CBD
 12
 13
 14                                          BROWNSON NORBY PLLC
 15
 16                                         By: /s/Thomas J. Norby
 17                                            Thomas J. Norby
                                               Attorneys for Defendant INFINITE
 18                                            PRODUCT COMPANY LLC, d/b/a
 19                                            Infinite CBD
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       NOTICE OF MOTION TO DISMISS AND MOTION TO STRIKE, OR IN THE ALTERNATIVE TO STAY THE
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